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 UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,              )   CR. NO. 17-00101 LEK
                                        )
          Plaintiff,                    )   GOVERNMENT’S RESPONSE TO
                                        )   DEFENDANT’S MOTION FOR
    vs.                                 )   INJUNCTION AGAINST THE FDC FOR
                                        )   RETALIATION; CERTIFICATE OF
 ANTHONY T. WILLIAMS (1),               )   SERVICE
                                        )
          Defendant.                    )
                                        )
                                        )

          GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
          FOR INJUNCTION AGAINST THE FDC FOR RETALIATION

       The government respectfully submits this brief in response to Defendant

 Anthony T. Williams’s (Defendant) Motion for Injunction Against the FDC For

 Retaliation (Motion). The Motion claims that the defendant “has been confined 33
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 continuous days without any law library access or access to his discovery discs or

 law work.” Motion 1-2, ECF No. 479. The Motion also claims that the “[Federal

 Detention Center, Honolulu (FDC)] Staff have . . . [deprived him of] access to [his]

 discovery discs, e-discovery computer, legal material and legal mail,” purportedly

 in violation of an Order of this Court, as well as access to a “Lexis Nexis Computer

 to do research and computer to draft motions to send thru the email.” Id. 2. The

 Motion seeks an injunction against the FDC to:

              (1) “order them to stop writing false disciplinaries to take
                  away [his] ability to communicate via phone or e-
                  mail[;]”

              (2) “to issue an order mandating the undersigned’s
                  immediate release and release of other inmates who
                  have been in the [Special Housing Unit (SHU)] over
                  30 days[;]”

              (3) “expungement of the false disciplinary report of
                  threatening bodily harm . . . [;]”

              (4) “to restore the undersigned’s use of the phone and
                  email . . . .”

 Id. 2-3.

        The Motion should be denied. As with numerous previous briefs, three of

 the demands in the Motion challenge the conditions of the defendant’s confinement

 at the FDC. Although the Motion claims in a conclusory fashion otherwise, see

 Motion 2, the defendant has failed to show that he has exhausted his administrative

 remedies with the BOP before approaching this Court. Moreover, with respect to

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 the fourth demand in the Motion, the defendant is not entitled to release upon the

 ground that he has been purportedly been confined at the FDC Special Housing

 Unit for over 30 days.

                               LEGAL ARGUMENT

       The Motion should be denied because the defendant failed to follow and

 complete the BOP’s grievance procedures. The defendant raises two issues in the

 Motion. First, he alleges that the FDC has improperly denied him access to his e-

 discovery during his time in the Special Housing Unit (SHU) since April 10, 2019.

 Motion at 2. Second, the defendant protests “false disciplinaries” and the sanctions

 – including placement in SHU – associated with his most recent incident report.

 Id. at 2-3. The defendant has neither initiated nor exhausted his administrative

 remedies for either issue.

 I.    The Defendant’s Claims Are Not Properly Before The
       Court Because He Has Failed To Exhaust His Administrative
       Remedies And Timely Follow The BOP’s Grievance Procedures

       The Motion impermissibly challenges the conditions of the defendant’s

 confinement in a manner similar to motions that this Court has rejected in the past.

 ECF Nos. 132, 346, 389, 430; see also Defendant’s Eighth Motion for Order to

 Show Cause, ECF No. 433 (motion pending); Defendant’s Ninth Motion for Order

 to Show Cause, ECF No. 460 (motion pending). Just as this Court has ruled upon

 those motions, see id., the defendant must exhaust his administrative remedies with


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 respect to challenges to the conditions of his confinement before approaching the

 Court.

          The defendant failed to properly exhaust his administrative remedies relating

 his claims. The defendant includes a conclusory claim in his Motion that he has

 filed an administrative grievance. Motion 2 (“The undersigned has more than

 exhausted his administrative remedies . . .”); Declaration of Anthony Williams

 (Williams Decl.) at 1, ECF No. 479-1 (“I filed a BP-9 grievance and have yet to

 get a response from the warden.”). However, the Motion includes no showing that

 the defendant exhausted his administrative remedies, and in any event the Motion

 fails to allege that the defendant completed the administrative process.

          “The doctrine of exhaustion of administrative remedies is well established in

 the jurisprudence of administrative law.” Woodford v. Ngo, 548 U.S. 81, 88 (2006)

 (quoting McKart v. United States, 395 U.S. 185, 193 (1969)). “The doctrine

 provides that no one is entitled to judicial relief for a supposed or threatened injury

 until the prescribed administrative remedy has been exhausted.” McKart, 395 U.S.

 at 193 (quoting Myers v. Bethlehem Shipbuilding Corp., 303 U.S. 41, 50, 51

 (1938)).

          Here, as with previous motions, the defendant has failed to show that he has

 exhausted the available administrative remedies with the BOP. To exhaust his

 administrative remedies, the defendant must proceed through the Administrative


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 Remedy Program. See 28 C.F.R. §§ 542.10-542.19; Bureau of Prisons Program

 Statement on Administrative Remedy Program, Jan. 6, 2014 avail. at

 https://www.bop.gov/policy/progstat/1330_018.pdf.

       This Court previously outlined the BOP grievance process in its March 7,

 2018 Order at 4-5, ECF No. 132. Under the BOP grievance process, the inmate

 must first seek informal resolution of the issue of concern at his institution of

 confinement, the Federal Detention Center, Honolulu. Id. § 542.13. If no informal

 resolution is reached, the inmate must file a formal request (BP-9) with the

 Warden. Id. § 542.14. If the Warden denies the remedy, the inmate may appeal

 first to the Regional Director (BP-10), within 20 days of receiving the Warden’s

 response, and thereafter to the General Counsel in Washington, D.C. (BP-11),

 within 30 days of receiving the Regional Director’s response. Id. § 542.15.

 Administrative exhaustion does not take place until a final decision is received

 from the Office of General Counsel, or until a response is not forthcoming within

 the time allotted for reply. Id. §§ 542.15(a); 542.18.

       The defendant alleges—without any evidentiary showing—that he filed a

 BP-9 form and began the administrative grievance process, Williams Decl. 1 ¶ 5,

 ECF No. 479-1, and that he “more than exhausted his administrative remedies all

 the way up to the headquarters BOP and still haven’t obtained relief because at all




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 levels the complains get ignored or disregarded.” Motion 1. Such an unsupported

 allegation does not meet the defendant’s burden of proof on his Motion.

       In any event, Bureau of Prison records indicate that the defendant has failed

 to file any grievance in connection with the allegation in the Motion. The Motion

 arises out of his current confinement in the Special Housing Unit at FDC

 Honolulu. Motion 1-2. The Motion attaches an incident report dated April 9,

 2019, relating to an incident in which the defendant stated he would “destroy the

 careers of everyone here who violates his rights and will make them infamous in

 the news and social media” and had retained a “PI (Private Investigator) who [had]

 gotten him their (staff) financial information, mortgage information etc. and will be

 using it to put them (Staff) in the poor house, without a penny and homeless for

 fucking with him.” Motion at Exh. 2, ECF No. 479-3.

       As a result of this incident, the defendant was placed in the Special Housing

 Unit on April 10, 2019, Exhibit A, and is not scheduled for release back into the

 general population until June 3, 2019. Declaration of Jandi Lum (“Lum Decl.”)

 ¶ 11. Bureau of Prisons records, however, indicate that the defendant last

 submitted a grievance on January 31, 2019, and the defendant received a response

 on February 19, 2019. Exhibit C (“STATUS DT: 02-19-2019”). That grievance

 pertained to the location of the e-discovery terminal in the defendant’s housing

 unit, and is not relevant to the claim raised in the Motion regarding erroneous


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 disciplinary action. Exhibit D. Until the defendant properly exhausts his

 administrative remedies, this matter is not properly before this Court. Woodford v.

 Ngo, 548 U.S. 81, 89 (2006).

       Both the defendant and his standby counsel, Lars Isaacson, Esq., have been

 on notice since March 7, 2018 that they are required to exhaust the defendant’s

 administrative remedies before seeking redress from this Court. ECF No. 132.

 Because the defendant has failed to properly follow BOP administrative

 procedures, the motion should be denied.

 II.   The Defendant Has Not Been Deprived of Access To A Law
       Library Or Access To His Discovery While In The Special Housing Unit

       As noted above, the issue of Mr. Williams’s access to a law library is not

 properly before this Court until he exhausts his administrative remedies. In any

 event, we note for the Court’s benefit that the Mr. Williams has had continuous

 access to a law library room while in the Special Housing Unit, and his disuse of

 this resource is due solely to his failure to request it, not any affirmative denial by

 the FDC staff.

       The FDC SHU provides inmates with a dedicated law library room

 containing an e-discovery review PC, a typewriter, and a Trust Fund Limited

 Inmate Computer System (TRULINCS) terminal. See Lum Decl. at ¶ 5. The

 TRULINCS terminal provides inmate to staff e-mail capability as well as a

 LexisNexis research database on the same machine. Id. SHU inmates may request

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 access to the SHU law library room verbally or in writing. Id. at ¶ 6. Inmates who

 make use of the room are simultaneously provided their e-discovery materials for

 review. Id.

       Prior to his current time in the SHU, he defendant had previously made

 extensive use of the SHU law library room to conduct legal research while housed

 in SHU. Id. at ¶ 7. FDC officials have placed the defendant in the SHU for

 disciplinary reasons during three distinct periods during his incarceration at the

 FDC. Id. The defendant was first placed in the SHU on February 14, 2018 and

 released back to the general population on April 16, 2018. Id. He was provided

 his e-discovery materials and furnished access to the SHU law library room on

 fifty-five (55) occasions during this period, with each use anywhere from one to

 five hours in duration. Id. The defendant returned to the SHU on May 8, 2018 and

 returned to the general population on June 14, 2018. Id. at ¶ 8. During this period

 in SHU, the defendant used the SHU law library room eighteen (18) times. Id.

       The defendant’s current time in the SHU began on April 10, 2019. Id. at ¶ 9.

 Unlike during his previous stays in the SHU, since April 10, 2019, the defendant

 has made no requests for access to the SHU law library room, review of his e-

 discovery materials, or legal research. Id. SHU law library access logs reflect the

 room has been made available and used by other inmates during this time. Id.




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        Accordingly, the defendant has not been denied to access to the law library,

 as he alleges in this Motion, but has instead failed to request access to the law

 library.

 III.   The Defendant’s Is Not Entitled Release As A Result
        Of His Confinement In The FDC Special Housing Unit

        The defendant is not entitled to release upon the ground that he has been in

 the Special Housing Unit for over 30 days. According to BOP records, the

 defendant had been housed in the SHU as a result of his disciplinary violation

 since April 10, 2019 and is not scheduled for release until Monday, June 3, 2019, a

 period of 54 days. Lum Decl. ¶¶ 4, 11. Solitary confinement for 54 days does not

 violate the defendant’s Constitutional rights. Grissom v. Roberts, 902 F.3d 1162,

 1174 (10th Cir. 2018) (finding no constitutional violation in prisoner’s solitary

 confinement for 20 years). The sole authority and argument cited by the

 defendant, Hutto v. Finney, 437 U.S. 678 (1978), does not dictate otherwise. At

 issue in Hutto was a specific district court order relating to the Arkansas penal

 system, which had been under a series of remedial orders for repeated

 Constitutional violations, including inadequate diet, continued overcrowding,

 rampant violence, vandalized cells, and lack of professionalism and good judgment

 on the part of the maximum security personnel. When Arkansas failed to address

 these conditions, the district court fashioned a comprehensive remedy that imposed

 a 30 day limit upon the use of punitive isolation to help correct the conditions in

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 Arkansas’s penal system, which the Supreme Court upheld. Id. 687-88. Nowhere

 does Hutto set forth a blanket limitation upon the use of solitary confinement in

 other contexts. No case law interprets Hutto to do so.

                                   CONCLUSION

       For the reasons above, the government respectfully requests that the Court

 deny the Motion.

              DATED:       June 3, 2019, at Honolulu, Hawaii.
                                                KENJI M. PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                  GREGG PARIS YATES
                                                  Assistant U.S. Attorney




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                            CERTIFICATE OF SERVICE

       I certify that, on the dates and by the methods of service noted below, a true

 and correct copy of the foregoing was served on the following by the method

 indicated on the date of filing:

 Served Electronically through CM/ECF:

       Lars Isaacson, Esq.
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       Stand-by Attorney for Defendant
       ANTHONY T. WILLIAMS

 Served by First Class Mail:

       Anthony T. Williams
       Register No. 05963-122
       Inmate Mail
       FDC Honolulu
       PO Box 30080
       Honolulu, HI 96820

              DATED: June 3, 2019, at Honolulu, Hawaii.


                                               /s/ Melena Malunao
                                               U.S. Attorney’s Office
                                               District of Hawaii




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